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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RUPERT GREEN,                                                               NOTICE OF MOTION TO
                                                                            DISMISS
                                                             Plaintiff,
                                                                            17-CV-7414 (AT) (GWG)
                             - against -

THE NEW YORK CITY DEPARTMENT OF
EDUCATION,         CARMEN         FARINA,     Former
Chancellor, Sued Individually and Officially,

                                                          Defendants.
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                 PLEASE TAKE NOTICE that upon the Declaration of Assistant Corporation

Counsel Shaina Wood, dated February 4, 2019, the exhibit attached thereto, and the

Memorandum of law in Support of Defendants’ Motion to Dismiss the Complaint, and upon all

the papers and proceedings previously had herein, Defendants the Board of Education for the

City School District of the City of New York, operating as the New York City Department of

Education (“DOE”), and former DOE Chancellor Carmen Fariña, will move this Court at the

United States Courthouse for the Southern District of New York, 500 Pearl Street, New York,

New York, 10007, before the Honorable Analisa Torres, United States District Judge, on a date

and time to be decided by the Court for a judgement, pursuant to Rule 12(b)(6), dismissing the

Complaint against Defendants on the grounds that: (1) Plaintiff’s claims are barred in whole or in

part by the doctrines of collateral estoppel, and (2) the remainder of Plaintiff’s claims must be

dismissed for failure to state a claim.
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Dated: New York, New York
       February 4, 2019


                                         ZACHARY W. CARTER
                                         Corporation Counsel of the City of New York
                                         Attorney for Defendants
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                                         New York, New York 10007
                                         (212) 356-2440


                                         By:           /s/ Shaina Wood
                                                Shaina Wood
                                                Assistant Corporation Counsel

TO:   Rupert Green (by ECF, E-mail, & first class mail)
      Plaintiff Pro Se
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